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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 EMMA GOIDEL, ILANA LEE, MADELEINE
 LEE, And LESLEY BROWN, On Behalf Of                     Case No. 1:21-cv-07619 (VSB)
 Themselves And All Others Similarly Situated,

                       Plaintiffs,
        -against-

 AETNA LIFE INSURANCE COMPANY,

                       Defendant.



       MOTION TO WITHDRAW APPEARANCE BY ANDREW K. JONDAHL

       Upon the accompanying affirmation of Andrew K. Jondahl, the undersigned respectfully

moves this Court to withdraw the appearance of Andrew K. Jondahl on behalf of Plaintiffs.


Dated: July 31, 2023
       New York, New York

                                                   EMERY CELLI BRINCKERHOFF
                                                   ABADY WARD & MAAZEL LLP
                                                   By:           /s/
                                                   Andrew K. Jondahl
                                                   600 Fifth Avenue
                                                   10th Floor
                                                   New York, NY 10020
                                                   (212) 763-5000

                                                   Attorney for Plaintiff
        Case 1:21-cv-07619-VSB-VF Document 63 Filed 07/31/23 Page 2 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 EMMA GOIDEL, ILANA LEE, MADELEINE
 LEE, And LESLEY BROWN, On Behalf Of                          Case No. 1:21-cv-07619 (VSB)
 Themselves And All Others Similarly Situated,

                          Plaintiffs,
         -against-

 AETNA LIFE INSURANCE COMPANY,

                          Defendant.



                 AFFIRMATION OF ANDREW K. JONDAHL IN SUPPORT
                      OF MOTION TO WITHDRAW APPEARANCE

                ANDREW K. JONDAHL, an attorney duly admitted to practice before this Court,

affirms the following to be true under penalty of perjury:

        1.      I am an associate with the law firm Emery Celli Brinckerhoff Abady Ward &

Maazel LLP (“ECBAWM”), attorneys for Plaintiffs.

        2.      I am one of the attorneys of record for Plaintiffs in this action.

        3.      As of August 2, 2023, I am leaving my employment with ECBAWM.

        4.      Zoe A. Salzman, Debra Greenberger, and Eric Abrams from ECBAWM are also

attorneys of record and they, along with co-counsel from the National Women’s Law Center,

continue to represent Plaintiffs in this action.

        5.      I respectfully request that the Court grant the motion to withdraw my appearance

for Plaintiffs in this action.

Dated: July 31, 2023
       New York, New York

                                                                             /s/
                                                                       Andrew K. Jondahl
